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                            091N TH E UN ITED STA TES DISTRICT COU RT
                         FO R TH E SOU TH ERN D ISTRICT O F FLORID A
                                W EST PALM BEA CH D IVISION


   FA N E LO ZM AN ,

          Plaintiff,
                                                 Case No.:08-80134-CIV -HU RLEY/11O PKlN S


    CITY O F RIVIERA BEA CH , a Florida
   m unicipal corporation,        M ICH AEL
   BROW N , an individual, GLORIA
    SH UTTLESW OR TH , an individual,
   N O RM A D UN COM BE, an individual,                                FILED by            .C.
   V AN ESSA       LEE, an        individual,
   ELIZABETH W A D E,an individual, A N N                                 N0V 2 2 2013
   ILES,an individual,G EO RGE CAR TER ,
   an individual, DA W N PA RDO , an                                    STEVEN M LARIMORE
                                                                         CLERKU.à.ots'rc'C
   individual, CED RICK THO M A S, an                                     s D ofFLA - MlAr
                                                                                         /l
   individual, JU D Y DA V IS, an individual,
   BRU CE GU Y TON ,an individual, and the
   Riviera Beach Com m unity Redevelopm ent
   Agency.

         D efendants.


                             SEC O N D AM END ED C O M PLA IN T

         Plaintiff,FANE LOZM AN (''LOZMAN'')suesdefendants, C ITY OF R IV IER A BEACH
   (ktC1TY''),M ICHAEL BROW N inhisindividualcapacity,GLORIA SHUTTLESW ORTH inher
   individual capacity,N ORM A DUN COM BE in her individual capacity, V AN ESSA LEE in her

   individualcapacity,ELIZABETH W ADE inherindividualcapacity, AINN ILES in herindividual

   capacity,GEORGE CARTER in hisindividualcapacity,DAW N PARDO inherindividualcapacity
                                                                                              ,


  CED RICK TH OM A S in hisindividualcapacity, BRU CE G U YTON in hisindividualcapacity and
                                                                                       ,


  theRIVIERA BEACH COM M UNITY REDEVELOPMENT AGENCY (itCRA'')and allegesas
  follows:
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                                          Nature of the Case

           This action form oney dam ages is broughtpursuantto 42 U .S.C .sections 1983,the First,

    Fourth and Fourteenth A m endm entsto the United States Constitution, and underthe law s ofthe

    State ofFloridaagainsttheCity ofRivieraBeach and form erand currentcity officials.

                  Thisaction isbrougbtby LOZM AN , acivicactivist,againsttheCITY, CRA and its

   public officialswho used the poweroftheiroffice to retaliate againstLozm an forhis advocac
                                                                                                    y
   criticizing the C ITY ,the CRA , and their respective public officials and policies. In an effortto

   silence and discreditLOZM AN , the CITY and the CRA through itscity adm inistration and police

   departm entw aged acam paign againstLOZM AN w hich included falsearrest, threats,retaliationand

   intimidation.These actionswere taken to silenceLOZM AN and to punish him forexercising his

   FirstA m endm entrights.

                                       Jurisdiction and V enue

                 ThisCourthasoriginaljurisdictionoverthisactionpursuantto28U S.C.j1331(a)
                                                                                      .



   and42U.S.C.j1983,aswellasprinciplesofsupplementaljurisdictionunder28U S.C.j 1367.      .



                 ThisactionisbroughtbeforetheCoul'tintheSouthern DistrictofFloridapursuantto

   28U.S.C.j1391(b)andattheW estPalm Beach,Florida, DivisionoftheSouthern Distrid pursuant
   toLocalRules3.1(F)and3.4(D)S.D.Fla.LocalRules          .




                                               Parties

                 LOZM A N w asaresidentwho lived on hisfloating hom eatthe City ofRiviera Beach

  m arina,in Palm Beach County, Florida.

         5.      The CITY isa m unicipalcorporation in Palm Beach County, Florida.


                                                                                                   2
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              6.    Thegoverning bodyoftheCITY isitsCity Council, and a1lpow ersoftheCITY and

    the determination ofal1mattersofpolicy are vested in the City Council.

                    D efendantM ICHA EL BRO W N w as atm aterialtim esthe M ayorofthe City.

                    DefendantsN O RM A DU N COM BE ,V A N ESSA LEE,ELIZA BETH W A DE ,A NN

    ILES,DA W N PA RDO ,CEDR ICK TH O M A S, and BRU CE G U TON areorwerecouncilm em bers

    ofRIV IERA B EA CH atm aterialtim es.

          9.        D efendantG LO RIA SH UTTLESW O RTH isorwasatm aterialtim esthe A ssistant

   City M anager. D efendantGEORG E CA RTER is orw as atm aterialtim es the M arina D irector of

   R IV IER A BEA CH .

          10.       DefendantCRA , hasasitsgoverningbodythesameelected City Councilpersonsof

   the C ITY ,

                                         G eneralA llegations

                   ln 2006,LO ZM AN m oved to the CITY . Hewastheownerofafloating residential

   strud ure,also referred to as a floating hom e, which w ashisregistered hom estead at200 East13th
                                                                                     ,

   Street,M arina Slip # 452, Riviera Beach,Florida.

                   LO ZM AN leased the boat slip for his tloating hom e from the C ITY M unicipal

   M arina.

                   Shortly afterLO ZM AN m oved into the CITY m arine in M arch of2006 LOZM A N
                                                                                       ,


   becameawareoftheCITY'Splannedredevelopmentproject            .



          14.      The redevelopmentplan proposed thetaking ofthousandsofhomes(and many
   businesses)throughthepowerofeminentdomainandgivingthem, alongw iththeCITY m arina, to a
  private developerfora proposed 2.4billiondollarredevelopmentproject.

         15.       LOZM AN m adepubliccommentsagainstboththeinitial2006redevelopmentplan



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    and tw o subsequentplans in 2008 and 2011, along w ith the corruption he perceived in the CITY

    governmentatvarious CITY Counciland Community RedeveloplnentAgency IClG Ipublic
    m eetings between A pril2006 to Novem ber2013.

                   LOZM A N was rem oved by the police from a r'
                                                               egularly scheduled m eeting ofthe

    CRA w hile speaking from the podium during the public com m cntsportion ofthe m eeting on M ay

    10,2006.

                   LOZM AN w as then denied atcess to a special m eeting of the CITY Council

    follow ing the regularly scheduled CRA m eeting preceding iton M ay 10 2006.
                                                                          ,


                  The m orning afterthe M ay 10 specialm eeting, on M ay 11,2006,Florida Governor

   JebBushsignedinto 1aw H .B.1567,whichsignitied acomprehensiveoverhaulofFlorida'seminent

   dom ain laws.Section 73.013etsq. oftheFloridaStatutesprohibitstheuseofeminentdomain in the

   mannerthe CITY and CRA proposed foritsredevelopmentplan.

                  On June 7,2006, LOZM AN tiled a law suitagainsttheCITY , M ICH AEL BROW N
                                                                                            ,

   N ORM A D UN CO M BE , V AN ESSA LEE,ELIZABETH W A DE , and ANN ILES,alleging a

   violation oftheGovernm ent-in-the-sunshineLaw .

          20.     On June 28, 2006,theCITY heldascheduledclosedexecutivesession. Thism eeting

   wasrecorded and the transcriptofthisproceeding has now been m ade a public record. Atthis

   m eeting,CITY officialsdiscussed the Sunshinelawsuitbroughtby LOZM AN and theneed to do

   ûtw hateverw e deem necessary''in the defense ofthatsuit, including ttbackground investigation on

   Lozm an,''the intim idation ofLozm an, and the hiring ofa private investigatorto determ inew ho was

  ktfunding''LOZM AN 'SSunshinelawsuit. ln addition,the CITY w anted to investigateLOZM AN to

  determ ine whether he was connected with an entity called the Pacific Legal Foundation,the

  Governor,the Attorney G eneral'soffice, the legislatureand localcitizensthattheCITY perceived as



                                                                                                   4
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    being opposed to theproposed re-developmentby the CITY . LOZM A N 'S Sunshine law suithad

    been publicly supported by com m entsfrom G overnorBush and Speakerofthe House B
                                                                                         enseto the
    m edia. Their offices, along w ith the Attorney General's oftèiee, cooperated with LOZM AN 'S

    attorneys w ho prepared the Sunshine law suit.

                   Thereafter,LO ZM AN continued attending public m eetings in Riviera Beach and

    continued to expresshis viewsduring thepublic portion ofsuch meetings However,the CITY ,

    through its CITY Council, itsvarious subdivisionsand itsindividualemployees em barked on a
                                                                                   ,


    cam paign ofharassm entand retaliation againstLO ZM AN forthe purpose ofpunishing LO ZM AN

    tbrexercising hisrightoffree speech and rightto petition the governm entforredressofgrievances

   and intim idating LO ZM AN in an effortto deterhim from exercising such rights in the future.

           22.    TheconductofDefendantsM ICHAEL BROW N , GLO RIA SH U TTLESW O RTH
                                                                                    ,

   NORM A DUN COM BE, VA N ESSA LEE,ELIZA BETH W A D E, AN N ILES,GEO RG E CA RTER
                                                                                                       ,

   D A W N PA RDO ,CED RICK TH O M A S, JUD Y DA V IS and BRU CE G U YTO N asalleged herein
                                                                                           ,

   involved recklessand callousindifference to LOZM AN 'SFirstAmendm entrightto petition the

   governm entand exercise hisrightoffreedom ofspeech withoutretaliation.

                  TheCITY Councilmembers1142006(M ICHAELl3ROW N, DUN CO M BE,LEE, and
   ELIZABETH W ADE)had directed CITY employees, specifically m arina employees and CITY
   policeofficers,tofindm eansofharassingand retaliating againstLOZM AN . G EO RG E CA RTER

   took the lead in carrying outthatdirective in 2006.

          24.    Theharassm entandretaliationresultedin LOZM AN 'SarrestinNovember2006.O n

  N ovem ber l5,2006,during the publiccom m entsportion ofthe CITY councilm eeting,LO ZM AN

  calm lyapproachedthepodium andbeganmakinghiscomm ents. Unhappy w ith hiscom m entsin the

  U.S.Attorneys'effol'
                     tstocrack down on publiccorruption in Palm Beach Co
                                                                        unty,theCITY,with


                                                                                                   5
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    the tacitapprovalofal1its elected officials, and atthe specificdirection ofELIZABETH W ADE
                                                                                              ,

    instructed 1aw enforcem ent officers to arrest LOZM AN and remove him from the meeting
                                                                                          .


    LOZM AN washandcuffed whilestillmakinghispubliccomm ents thusdeprivinghim ofhisrights
                                                            ,

    guaranteed by theFirstA m endm entand hisrightsto attend a public m eeting assetfol'
                                                                                       th in Florida's
    Sunshine Law . The entire incidentwascaughton videotape.

                  LOZM AN wasdraggedto the CITY police department, with hishandshandcuffed

    behind hisback, wherehewaslockedup in aholding cell.

           26.    TheC ITY elaim ed thatLOZM A N w as arrested fordisorderly conduct,trespassing,

   and resisting arrestw ithoutviolence. ThesechargeswerenolleprossedbythePalm Beach County

   State A ttorney on January 17, 2007.

                  The cam paign ofharassm entand retaliation againstLOZM AN did not
                                                                                   ceaseafterhis
   2006 arrest. LOZM AN continued to attend public CITY meetings a
                                                                           nd was i)removed from
   numerousmeetingsbytheCITY police;ii)physicallygrabbedbytheCITY policewhileLOZM AN
   w asm aking hispublic com m entsatthe speakerspodium and told to sitdo
                                                                           wn;iii)physicallythrown
   bythe CITY policeto theC ITY Councilcham berstlooratthespecitk direction ofD AW N PARD O
                                                                                            ,

   w hile LO ZM AN w as m aking his public com m ents at the speak
                                                                     erspodium;and iv) regularly
   interruptedandthreatenedwithpoliceforce(ANN ISLES, ELIZA BETH W AD E, D AW N PARD O
                                                                                                   ,

   CEDRICK THOM AS)inanattempttocensorLOZM AN'S publiceomment                  .



          28.    The ad sconstituting harassm entand retaliation by the Defendantsincluded:

                 A greeing to intim idate LO ZM AN into dism issing;hisGovernm ent- in-the-sunshine

   law suitduring the June 28, 2006,executive session. Thism eeting wasnotattended by G EO RG E

  CA RTER and G LO RIA SH UTTLESW ORTH . DA W N PARD O ,C EDRICK THO M A S
                                                                          , JUD Y

  DAVIS,and BRUCE GUYTON werenotelected officialsin 2006.



                                                                                                 6
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               b.     A greeing to hirea private investigatorto investigate and/orfollow LOZM AN dtlring

    the June 28,2006 executive session. This m eeting w as notattended by G EORG E CA RTER and

    GLOR IA SHU TTLESW O RTH . DA W N PARD O ,CERDICK TH OM A S
                                                               , JU D Y DA V IS,and

    BRU CE G U YTON w ere notelected officialsin 2006.

                     Constantly censoring LO ZM A N 'S public com m ents at CITY Counciland CR A

    meetings on issues ranging from three different re- developmentplans for the CITY m arina
                                                                                             ,

    allegationsofcorruption involvingelectedofficialsoftheCITY them isconductand incompetence
                                                              ,


    ofkey C ITY em ployeesand otherissues ofpublic concern.

           d.        A few ofthe latestexamples ofLOZM AN being censored while making public

    commentsatCITY Councilmeetingsinclude:i)onNovember6, 2013,DA W N PA RD O hadaCity
   policeofficerremoveLOZM AN from thespeakerpodium priorto his 3 m inute allocated tim e for

   publiccommenthadexpired;ii)onOctober16, 2003,CEDRICK THOM ASstatedfrom thedaisthat
   LOZM AN did nothave aFirstAm endmentrighttom akepublicco
                                                           m mentsthatdealtwithofficial
   records,asrecorded bythePalm Beach County Clerk. ofan elected officialbecause they portrayed

   this elected ofticialin a negative light'
                                           , and iii)during theNovember 13,2013 CRA meeting          ,

   Lozm an wascalled aitRapist, CrossD ressing, Fag,PieceofShit''by BRUCE GUYTON inavile
                                                                                        ,

   disgusting,and slanderous attem ptto intim idate LOZM A N i
                                                             nto notm aking hispubliccomm ents,
   and/orprovoking LOZM AN into a physicalconfrontation. BRUCE GUYTON hasa history of

   violence,m entalinstability, D U I,and illegaldrug use. BRUCE GUYTON hadbeen involuntarily

   com m itted        State Coul't Judge D iana Lew is, M ental H ealth Court
                                                                             , i
                                                                               n Case
  501996M H 000389XX M A 1B .

          e.        Arresting LOZM AN fordisorderlyconduct, trespassing,andresistingarrestwithout
  violenee onN ovem ber15, 2006,whileLOZM AN wasspeakingduringthepubliccomm e
                                                                             ntportion
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    ofa CITY councilm eeting;

                  Publicly stating thatLOZM AN doesnothavea FirstAm endm entrightto speak while

    he w as speaking during the public com m entportion ofa City Councilm eeting on oraboutJanuary

    3,2007,along w ith m any additionalm eetings up to and including the N ovem ber 6,2013 CITY

    councilm eeting.

          g.      Causing LOZM AN to be physically removed by the CITY Police during CITY
                                                                             ,

    CouncilorCRA publicm eetings, from the CITY C ouncilCham bers theCITY Hallbuilding,orthe
                                                                 ,


   Public SpeakersPodium . Theserem ovalsoccurred on num erousoccasionsbetw een 2006 to 2013
                                                                                                     .


   The police were directed to remove LOZM AN by the CITY CouncilChai
                                                                              rpersons (oracting
   Chairperson),to includeL1Z W ADE,ANN ISLES, CED RICK.TH O M A S and DA W N PA RD O                .


   There w as also an occasion w here GLORIA SH U TTLESW O RTH dire
                                                                   cted thata police officer
   rem ove LO ZM AN from a CITY Councilm eeting.

                 On October21,2009, LOZMAN sufferedapainfùlphysicalinjurytohispreviously

   repairedhipsocketandpelvis(thereareanumberofscrewsandplateinitfrom aninjurysustained
   priortoLOZMAN movingtotheCITY),afterhewasthrownontheCITY CouncilChamberstloor
   by two Riviera Beach police officersatthe Direction ofthe CITY CouncilChairperson D A W N

   PA RDO .The CITY Counciland CITY attorney Pam alaRyan laughed asL
                                                                         ozm an 1ay onthefloorin
   pain.LOZMAN requiredavisittotheEmergencyRoom wherehisinjurywasdiagnosed, he was
   provided pain medication, andheusedcrutchesuntilhisinjuryhealed.

                Constantly censoring LO ZM A N 'Scom m entsatpublic m eetingsofthe CITY C ouncil

  and Comm unity RedevelopmentAgency from 2006 through thepresent.

                Filing a sham federaladm iralty action thatculm inated in theseizureandsubsequent

  destruction by the CITY ofLOZM A N 'Stloating residence atthe CITY M arina. The U .S
                                                                                      .   Suprem e


                                                                                                8
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    Coul'
        treversed the low ercourtsand ruled thatLozm an's floating hom e w as illegally seized by the

    CITY becauseitwasnotavesselsubjecttoFederalAdmiraltyjurisdiction.
                  lllegally conducting a self-help eviction, by turning offLOZM AN 'Selectricity to his

    tloating hom e betw een April1, 2009 to April20,2009.

                  Ignoring State CourtJudge Peter Evan's order of A pril 17, 2009,to restore the

    electricity to LOZM AN 'Stloating home.

           m.     Repeatedly harassing LOZM A N by having C ity m arina em ployee Pierre Sm ith go to

    LO ZM AN 'S tloating hom e and take pictures through the w indow ofLO ZM AN , and som etim es

    Lozm an and hisfemalecompanion, in variousstagesofundress.

                  Repeatedly havingtheCITY policeharassandthreaten LOZM AN whenhewould

   w alk his sm alldachshund on a lease around the CITY m arina;and

                  Illegally turning offthe electricity to friends of LO ZM AN 'S w ho resided on their

   personalvesselsatthe CITY m arina. TheCitydidthisin aselectivem anner, becausetheelectricity

   w as notturned offto othertenants'vessels.



     CO IJNT I- 42 U.S.C.k 1983 AGAINST DEFENDANTS CITY O F RIVIERA BEACH
     CIRA AN D TH E IN DIV ID U A L DE FENDANTS (SHUTTLESW ORTH .DUNCOM BE ,
                                   -   -   -
      LEE . W A D E.ILES.C AR TER .PA R DO , THOM A S.DAVIS AND G UYTON)FO R .
        PO LICT Y TO R E TA LIA TE A G A IN ST LO ZM A N A 5lD TO SU PR ESS SPEEC H

          29. ThisisanactionforinjunctivereliefandfordamagesunderTitle42, U.S.C.j1983.
                 Theallegationsofparagraphs 1through 28 areincorporated by referenceinto this

   Countand arere-alleged asiffully setfol'th herein.

                 LOZM AN hasarightto petitionthegovernmentundertheFirstAm endmentofthe

   ConstitutionoftheUnited StatesofAm erica, a rightto exercisefreespeech atpublicm eetings,and a

   rightto be free from unreasonableseizuresunderthe Fourth Am endment, as applied to the states


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     through the Fourteenth A m endm ent.

                    LO ZM AN 'Srightsto petition the governm entand exercise free speech includesthe

    rightto engagein these constitutionally protected actsw ithoutfèarofretaliationbythegovernment

    againsthim .

                    TheCITY,through itsCouncilM embers, determ ined thattheCITY should retaliate

    againstLOZM AN forhisexercise ofhisrightto petition the governmentand rightto free speech
                                                                                                        .



                    The C ITY,through its CouncilM em bers acting for itself and by direction to its

    subordinateboards,inspectors, officersand em ployees, hascom m enced an intentionaleam paign to

    harassand intimidate LOZM AN .

                   A talltim es alleged in this Count, the CITY and its individualCouncilM embers
                                                                                                 ,

    board m em bers, inspectors, officers and em ployees acted under color of state law and in the

    effectuation ofthe policies ofthe CouncilM em bers.

                   Defendantsdeprived LOZM AN ofrightssecured tohim undertheFirstand Fourth

    A m endm entsofthe Constitution ofthe United States ofA m erica, including LOZM A N 'S rightto

    petition thegovernmentforredressofgrievancesandhisrightto speakoutfreely on public issues
                                                                                                    ,

   and to befreefrom unreasonable seizures.

                   Defendants accomplished this deprivation by iarassing and retaliating against

   LOZM AN ,w ith LOZM A N being personally arrested tw ice. LOZM A N 'S tloating hom e w asalso

   arrestedand destroyed bytheCITY in asham federaladmiraltyaction. The conductcom prising the

   deprivationofLOZM AN 'Sconstitutionalrightsincludebutarenotlimitedto,theconductallegedin

   paragraphs 1to 36 above.

                   THE CITY intended by each of these actions to punish and retaliate against

   LO ZM AN for exercising his First Am endm ent Rights and to deter LOZM A N
                                                                                  and others from


                                                                                               10
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     exercising such rightsin the future.

            39.     ThispolicytopunishandsilenceLOZM AN forhispubliccriticism ofthe CITY,its

    elected official's, and key em ployees wasdesigned and carried outby the CITY asa governm e
                                                                                               ntal
    entity,and bytheindividualCITY policym akersatthehighestlevel, with thepurposeofstopping

    and punishing LOZM AN from engaging in constitutionally protectedpoliticalspeech.

            40.    Eachoftheactionssetforth inparagraph 1to28ofthisSecondAmended com plaint

    w as taken pursuantto a custom , policy,ordecision m ade by a governm entalofficialwith final

    policym aking authority.

                   A s a result ofthe CITY 'S campaign to harass, retaliate and punish LOZM AN
                                                                                               ,

    LOZM AN has been deprived ofhisrightto petition thegovernm entand e
                                                                       xercise free speech as
    secured underthe FirstAmendmentto theConstitution oftheUnited StatesofA m erica free from

    retaliation,and hisrightto be freefrom unreasonableseizures.

                  A s a result of the CITY 'S cam paign to harassm retaliate and punish LOZM A N
                                                                                                 ,

    LO ZM AN hasbeen deprived ofboth substantive and proceduraldue pr
                                                                     ocess guaranteed underthe
    Fourteenth Amendmentofthe Constitution oftheUnited StatesofAm erica.

                  As a resultof the CITY'S cam paign to harass, retaliate and punish LOZM AN
                                                                                                   ,

   LOZM AN hasbeendeprivedofequalprotectionguaranteedundertheFourteenth A m endm entofthe

   Constitution ofthe United States ofA m erica by virtue ofthe ClTY 'sdiscrim inatory and disparate

   treatm entof LO ZM AN in the application ofits policies, procedures,regulations ordinances and
                                                                                   ,

   otherlaw s.

          44.     A s result of the actions and conduct of defendants, LO ZM AN has no adequate

   remedy atlaw and issuffering irreparableinjury asaresultoftheCITY'Songoing campaign to
   harass him,which injury cannotbe redressed in the absence ofa permanentand mandatory


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     injunctionrequiringtheCITY toenditscampaignofintentionalharassmentandretaliationagainst
     LOZM AN inresponsetoLOZM AN'Sexerciseofhisrightsoffreespeech andtopetitiontheCITY

    forthe redress ofgrievances.

                   TheactsofDefendantsdescribedaboveweremaintainedundercolorofthelaw ofthe

    StateofFloridaand underthecoloroftheindividualDefendantsrespectiveoffcesas officersand

    agentsoftheStateofFloridaand oftheCITY .

           46.     Each of the individualDefendants organized, conspired,or participated in the

    intentionalschem e to punish and retaliate against LOZM A N for LOZM A N h
                                                                              aving exercised the
    rightto petition thegovernm entfortheredressofgrievancesand therightoffr
                                                                            ee speech.
           47.    The acts of the individual D efendants w as so obviously w rong in the light of

    preexisting law ,thatthesepublicofficialsknow ingly violated thelaw , becausethey had knowledge

    ofthe law and took an oath to uphold it
                                          .



           48.    LOZM AN hassuffered damage asa resultofDefendants'violationsofhisCivil

    Rights,including:

                         lnjurytohispersonthatwassustainedafterbeingthrownonthefloorbytwo
   policeofficers,atthe direction ofPARDO, w hile Lozm an w as m aking public com m ents;

                  b.     Intentionalintlictionofem otionaldistress, andm entalanguishthatresulted

   and werelimited to thespecificeventsof: i.)beingphysicallythrownaroundbytheCITY police

   whilemakingpubliccommentsatCITY CouncilandCRA meetings;ii)thefalsearrestofLozman
   whilehewasmakingpubliccommentsataCITY Councilmeeting;iii)thestressofbeingharassed
   by the police and threatened w ith arrestw hile LO ZM AN w alked his d
                                                                        og;iv)receivingrepeated
   death threatsin frontofhistloating hom eby currentCITY em ployee Sylvia Blue w ho w asescorted

   to the secure dock where Lozman'sfloating hom e wasm oored by aCITY m arina employee'
                                                                                       , v)
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     receiving repeated death threatsatCITY hallcurrentCITY'employee Sylvia Blue;vi)being
     physicallythreatenedandslanderedbyGUYTON;andvii)theCITY'SretaliatoryFederaladmiralty
     arrestand theC ITY 'Ssubsequentpurchase and then the vindictive destruction ofLozm an'sfloating

     hom e. The intentionalinfliction of em otionaldistress and m entalanguish thatresulted from the

     above specific incidents,although significantduringthe tim etheseeventsoccurred,hasbeen cured

     by the passage oftim e and hasresulted in no penuanentim pairm ent'
                                                                       ,

                           D am ages for the destruction of LO ZM AN 'S floating hom e,furniture and

     related contents as a resultofD efendants PA RD O ,TH OM A S and DA V IS w rongfulactions.

                   d.      A ttorneys'feesand costsincurred by LOZM AN asaresultofand in response

     to D efendants'deprivation ofLOZM A N 'Scivilrights.

                           A ttorneys' fees and costs incurred by LO ZM AN in response to each

     individualw rongfulactcom m itted by Defendants in furtherance ofthe C ITY 'Soverallschem e to

     harass,retaliate against,intim idate,and punish LOZM AN .

                           A ttorney'sfeesand costsincurred by LO ZM AN atthedistrict,appellate,and

     U .S.Suprem e Courtin the related adm iralty action.

                   g.      The intentional, w illful and wanton acts of D efendants BRO W N ,

     SH UTTLESW OR TH , D UN COM BE,LEE, W A D E, ISLES, CA RTER , PA RD O , THO M A S,

     D AV IS, and G U YTON establish a claim for punitive dam ages against D efendants BRO W N ,

     SH UTTLESW OR TH , DU N COM BE, LEE, W A DE, ISLES, CA RTER , PA RD O , THO M A S,

     D A VIS,and G U YTON .

                   LOZM A N had previously em ployed the 1aw firm ofCobb and Cole to pursue this

     action and hascontracted to pay a reasonable attom eys'fee,forwhich feesand the costsofthis

     action,LOZM AN isliableundertheprovisionsofTitle42U.S.C.j1988.
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                   A11conditionsprecedentto thefilingofthisactionhasoccurredorhasbeen waived.



                    C O UN T 11- CO N SPIRA C Y TO V IO LATE CIV IL R IG H TS
     (AgainstDefendantsBROW N,SHUTTLESW ORTH,DUNCOMBE,LEE,W ADE,ILES,PARDO,
     THOM AS,DAVIS,and GUYTON)

            51.    This cause of action is brought by LOZM A N against D efendants M ICH A EL

     BR O W N , G LO RIA     SHU TTLESW O RTH , N ORM A        D UN CO M BE, VA N ESSA        LEE,

     ELIZA BETH W A D E,AN N ILES,DA W N PA RD O ,CED RICK TH OM A S,JU D Y D AV IS,and

     B RUCE GU Y TON in their individual and official capacities, for conspiracy to interfere w ith

     LO ZM AN 'Sconstitutionalrightoffree speech asguaranteed by the FirstAm endm entto the United

     States Constitution.

            52.    D efendants M ICH AEL BR OW N , GLORIA SH UTTLESW ORTH , N ORM A

     DUN CO M BE,V AN ESSA LEE,ELIZA BETH W A DE,AN N ILES,DA W N PARD O ,CED RICK

     THO M A S,JU DY DA V IS,and BRU CE GU Y TON entered into an agreem entto silence,discredit,

     and punish LO ZM AN in retaliation forspeaking critically aboutthe CITY and CITY leaders. Such

     actionsw eretaken w hile said D efendantsw ere acting underthe coloroflaw as CITY officialsand

     policy m akersofthe CITY and CR A .The conspiracy w aseffectuated by Defendantsagreeingto use

     theirpowerandauthorityasCITY andCRA officials(excludingMICHAEL BROW N,whowasnot
     aCRA official,butwasaCITY ofticialCITY)togather,discloseandallow thedistributionoffalse
     inform ation aboutLOZM AN w ith the purpose ofretaliating againstLO ZM AN and punishing him ,

     and preventing LO ZM AN from furtherengaging in constitutionally protected speech criticalofthe

     CITY ,CRA ,CITY officials,and CRA officials.

                   a.       A sa directandproxim ateconsequence oftheconspiracy between D efendants

     M ICHA EL BRO W N,GLORIA SHU TTLESW OR TH ,N ORM A D UN CO M BE,V AN ESSA LEE,

                                                                                                 14
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     ELIZA BETH W A DE,AN N ILES, D A W N PARD O ,CED RICK TH O M AS,JU DY D A VIS, and

     BRUCE GUYTON,LOZM AN sustainedinjury,physicalpainanddiscomfort,emotionaldistress
     andm entalsufferingthathavebeen cured bythepassageoftim eandhaveresultedinno perm anent

     im pairm ent.

                     The intentional, w illful and w anton acts of Defendants M ICH A EL BR OW N ,

    G LO RIA SHU TTLESW ORTH,N O RM A D G CO M BE , V AN ESSA LEE,ELIZABETH W AD E,

    AN N ILES, D A W N PA RD O ,CED RICK TH OM A S,JU D Y DA V IS, and BRU CE G U YTO N

    establish a elaim for punitive dam ages against D efendants M ICHA EL BRO W N , G LO RIA

    SH U TTLESW OR TH ,N ORM A D UN CO M BE, VA N ESSA LEE, ELIZA BETH W AD E, AN N

    ILES,DA W N PA RDO ,CED RICK TH OM A S,JU D Y D AV IS, and BRU CE G U YTON .




                                     C O U NT Ill -FAL SE A R RE ST
                            (StateTortofFalseArrestagainstDefendantCITY)
                     Thisisan action forcom m on-law false arrest.

            55.      The allegations ofparagraphs 1 through 28 are incorporated by reference into this

    Countand are re-alleged as iffully setforth herein.

           56.       Thisisa cause fordam agesin excessoffifteen thousand dollars, exclusive ofcosts

    and attorney's fees.

                     On oraboutN ovemberl5,2006,LOZM AN wasanvstedataCITY Councilm eeting

    forspeaking during the public com m entportion ofthe m eeting.

           58.       LOZM AN wasremoved and arrested atthe direction ofthe CITY Councilperson

    W ADE,with theapprovalofCouncilm embersDUNCOM BE and LEE.

           59.       The CITY, through its police department, intentionally arrested and detained



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     LO ZM AN w ithoutan arrestw arrant and w ithout probable cause in thatthe C ITY knew or had

     reasontoknow atthetim eofhisarrestand detentionthatLOZM AN hadnotcom mitted any crim e.

             60.    LOZM AN w as charged w ith disorderly coflduct, trespassing,and resisting arrest

    w ithoutviolence.

             61.    State prosecutorsdeclined to prosecute LOZM A N .

             62.    The CITY 's detention of LOZM AN was unreasonable and unwarranted by the

    circum stances in thatLOZM A N w as a residentofthe CITY w ho waslawfully speaking ata CITY

    CouncilM eeting and w ho had notcom m itted any crim e.

                   LOZM A N 'Sarrestw aspublicized in theCITY and throughoutPalm Beach County in

    printand television coverage.

             64.   LO ZM AN suffered dam ages as a direct result of the false arrest. The specific

    dam ageslim ited directly to thefalse arrestare:

                   a.     Physicalpain and discom fort, em otionaldistress and m entalsuffering that

    have been cured by the passage oftim e and have resulted in no perm anentim pairm ent.

             65.   The intentional, willful and wanton acts of W ADE, with the approval of

    Councilm em bers DUN COM BE and LEE, establish aclaim forpunitivedam agesagainstW ADE
                                                                                          ,

   D UN CO M BE and LEE.

                   Allconditionsprecedentto the filing ofthisaction hasoccurred orhasbeen w aived.



   CO UNT 1V-STATE TORT OF BATTERY AGAINST DEFENDANT CITY OF RIVIERA
   BEA CH


          63.      LOZM A N realleges paragraphs 1 through 28, and incorporatesthem by reference

   herein.



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            64.    Thisisa cause fordam agesin excessoftifteen thousand dollars exclusive ofcosts
                                                                                 ,

    and attorney's fees.

                   D efendantCITY is responsible forthe conductofthe police ofticers in itsem ploy.

            66.    On repeated occasions between 2006 to 2013, including N ovem ber 15 2006,and
                                                                                      ,

    O ctober 21,2009,the CITY police, while acting in thecourse and scopeoftheirdutiesaspolice

    officers employed by DefendantCITY did, withoutlegaljustification,batter,touch and strike

    LOZM AN without the consent of LOZM AN and againstLOZM AN'S will. These incidents

    happened during CITY Counciland CRA m eetings.

           67.     A saresultofsuch actions, LOZMAN suffereddamagesthatincludedbodil
                                                                                   y injury
    and physicalsuffering,physicaldiscom fort, w hich although significantduringthetim ethese events

    occurred,have been cured by the passage oftim e and hasresulted in no perm anentim pairm ent.

           68.     A11conditionsprecedenttothefilingofthisactionhasoccurredorhasbeenwaived.



    CO UN T V - STATE 6EIN TEN TIO NA L TO R T ''O F CO NV ER SIO N A G A IN ST TH E C ITY
        and D EFEN DA N TS DA W N PA RD O . CED RIC K TH O M A S.A N D JUD Y D A VIS

                  The CITY im properly arrested LOZM AN 'Sfloating hom eto include hisfurniture

                  and otherpersonalproperty w ith the approvalofPA RDO , TH OM AS and D AV IS on
                                                                                               ,

                  a sham federaladm iralty com plaint. LOZM AN floatinghom ewastowed from the

                  CITY toM iami,atïertheCITY lostaStatejurytrialtoevictLOZMAN'Sfloating
                  home from the CITY marina.

                  LOZM A N dem anded the return of his floating hom e to the CITY m arina and the

                  CITY refused.

          71.     The CITY purchased LOZM AN 'Sfloating hom e ata U .S.M arshalauction. The

                  CITY,aftersuccessfully preventing LOZM AN from stopping the confirm ation of


                                                                                               17
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                 sale,m aliciously destroyed LOZM A N 'S tloating hom e attaxpayerexpense.

          72.    The CITY perm anently deprived LOZM A N ofhisproperty in a vindictive action to

                 try and stop LO ZM AN from exercising his First Am endm ent rights, to include

                 continuing to fightthe CITY 'Sattem ptto turn overthe CITY m arinaoverto aprivate

                 developer.

          73.    The U.S.Suprem e Courtreversed the lower courts and ruled that LOZM AN 'S

                 tloatinghomewasnotsubjecttofederaladmiraltyjurisdictionandshouldnothave
                been seized.

          74.    LOZM A N isentitled to dam agesto include'
                                                          .i)thereplacementvalueofhisfloating
                home,furniture and other accessories,'ii) living expenses from April2009 to

                November2013'
                            ,and iii)hislegalfeesatthedistrict,appellateandU S.Suprem e
                                                                                     .



                Court.

                The intentional,w illful and w anton acts of PA RD O , THOM AS,and DAVIS,to

                includem aliceand the w illfuldisregard ofLO ZM AN 'Srights, establishesaelaim for

                punitive dam agesagainstPA RD O , THO M A S A ND D AV IS.

                               DE M AN D FO R TR IA L BY JU RY

         LOZMAN hereby demandsajurytrialastoal1issuestriablebyajury          .




         W HEREFORE,LOZMAN respectfullyrequeststhatthisCourtenterjudgmentandaward:
                A.     R easonable and appropriate com pensatory dam ages for:physicalpain and

                discom fort,emotionaldistress and m entalsuffering thathave been cured by the

                passageoftim eand haveresulted in nopermanentimpairm ent.

                      Punitive dam ages against Defendants M ICHAEL BROW N , G LO RIA



                                                                                              18
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                SHU TTLESW O RTH , N O RM A D UN CO M BE , V AN ESSA LEE, ELIZA BETH

                W AD E,AN N ILES,G EORG E CA RTER , D A W N PA RD O ,CED RICK TH OM A S
                                                                                       ,

                JUD Y DA V IS and BRU CE G U YTON fortheirm alicious,w anton,w illful,reckless

                and know ing violations of LOZM A N 'S constitutional rights under the First

                Amendm ent.

                      A m onetary sum representing the difference between the amountthatthe

               AdmiraltyDistrictCoul'tawardsinLozman'spendingmotion(Dkt212,attached as
                                                                             .



               exhibit 1)in CaseNo.09-80594-C1V-DIMIT1tOULEAS/SNOW and the actual
               replacem entcostofLOZM AN 'S tloating hometo include itsfurniture and access

               ram p; LO ZM AN 'S living expenses betw een A pril 2009 to O ctober 2013; and

               LO ZM AN 'S attorneys' fees and costs that were incurred at the district court
                                                                                              ,

               appellatecourt,andtheU .S.Suprem e Courtin fozman v The(7@ ofRivieraBeach,
                                                                   .




               568U.S.     (2013).
                      D am ages for the conversion of LOZM A N 'S tloating hom e and personal

               property.

                      PunitivedamagesagainstDefendantsPARD O, TH OM A S and D AV IS forthe

               conversion ofLOZM A N 'S tloating hom e.

                      LOZM A N 'Scosts,expensesand attorneys'feespursuantto 42 U .S.C. 1988.

                     Awarding attorney fees, expenses and costs of this Section 1983 action

               pursuantto42U.S.C j 1988.,
                                        .and




                                                                                         19
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                              Such furtherand otherreliefastheCourtdeem snecessary and proper.

    D ated:N ovem ber 18,2013


                        By:

                              Fane Lozman
                              Pro Se




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                                     CERTIFICATE OF SERVIG
           1,Fane Lozm an,certify thaton this 18thday ofN ovem ber2013, 1served the foregoing via

    em ailto

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